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                United States Court of Appeals
                            FOR T HE DISTRICT OF COLUMBIA CIRCUIT
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No. 21-3034                                                September Term, 2020
                                                                     1:21-cr-00222-TFH-2
                                                   Filed On: August 18, 2021 [1910556]
United States of America,

              Appellee

      v.

George Pierre Tanios,

              Appellant

                                      MANDATE

      In accordance with the judgment of August 9, 2021, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk




Link to the judgment filed August 9, 2021
